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FOR THE NORTHERN DISTRICT OF TEXAS
AMARILLO DIVISION AUG - 8 2027

IN THE UNITED STATES DISTRICT COURT LU

THE STATE OF TEXAS, et al.,
Plaintiffs,

V. 2:21-CV-067-Z

JOSEPH R. BIDEN, JR., et al.,

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Defendants.
ORDER
Before the Court is Defendants’ Unopposed Motion to Vacate the Permanent Injunction
(“Motion”) (ECF No. 146), filed on August 8, 2022. Having considered the Motion, pleadings,
and relevant law, the Court GRANTS the Motion. The Court VACATES the permanent injunction
issued on August 13, 2021 (ECF Nos. 94, 95).

SO ORDERED.

August e 2022 Vpnth

MATHEW J. KACSMARYK
TED STATES DISTRICT JUDGE

